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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JOSEPH MULL,

                       Plaintiff,
                                                          CIVIL ACTION
        v.                                                NO. 24-6083

 GOTHAM DISTRIBUTING
 CORPORATION, et al.,

                       Defendants.


                                       ORDER

      AND NOW, this 28th day of January, 2025, upon consideration of the parties’

Stipulation and Proposed Order Further Extending Defendants’ Time to Respond to

Complaint (ECF 9), it is hereby ORDERED that the request is DENIED.

      The parties give no reason for the need for an extension.


                                                      BY THE COURT:


                                                      /s/ Gerald J. Pappert
                                                      Gerald J. Pappert, J.
